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U.S, Department of Justice

Civil Division, Torts Branch

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November 12, 2021
Filed Via ECF

Honorable Paul A. Crotty
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street

New York, New York 10007

Re: in ve Energetic Tank, Inc.
S.D.NLY, 1:18-cv-01359 (PAC)

Dear Judge Crotty:

Pursuant to the. terms of the Stipulated Protective Order Regarding Confidential
Information and the Stipulated Supplemental Protective Order Regarding Confidential
Information (ECF Nos. 114, 140), the United States respectfully moves the Court for leave to seal
all admitted trial exhibits which contain confidential information that may be subject to U.S. export
laws and regulations, the International Traffic in Arms Regulation (“ITAR”), 22 C.F.R. § 120, et
seq,, and National Defense Information (NDI) within the meaning of 18 U.S.C. § 793(d) and (f).

The following exhibits containing ITAR and/or NDI were admitted by the Court during
the United States’/Claimants’ case-in-chief: Exhibits 86, 88, 383, 384, 446, and 4030.

The following exhibits containing ITAR and/or NDI were admitted by the Court during
Petitioner’s case-in-chief: Exhibits 73, 87, 89, 90, 91, 94, 95, 96, 97, 98, 132, 162, 163, 164, 166,
167, 168, 279, 359, 362, 365, 366, 376, 377, 378, 429, 443, 464, 465, 533, 4028, and 4029.

The Supplemental Protective Order Regarding Confidential Information requires that
export documentation be maintained under seal by the Court. (ECF No. 140, 9 17). The United
States requests that the documents remain under seal through the closure of the case.

WHEREFORE, the United States respectfully moves for leave to seal the above-listed trial
exhibits admitted by the Court because they contain confidential information subject to Protective
Orders. No party will be prejudiced by the relief sought herein.
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cc: All Counsel per ECF Filing

Respectfully submitted,

s/ Jessica G. Sullivan

Jessica G. Sullivan
Trial Attorney
U.S. Department of Justice

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